      Case 3:16-cv-03011-JCS Document 69 Filed 05/04/17 Page 1 of 3



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   Inc; Pho Huynh Hiep 4, Inc.; Pho Huynh Hiep
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   Lieu Thi Tran; Phong Hoang Huynh; and          TAM THANH CAO, CHINH THI NGUYEN,
 8 Kevin Son Hoang Huynh                          XIA KIM HUYNH, VAN MINH NGUYEN,
                                                  PHAT VAN LAM, and LAN THI NGUYEN
 9                                                For the Proposed Class

10                              UNITED STATES DISTRICT COURT

11                         NORTHERN DISTRICT OF CALIFORNIA

12                                 SAN FRANCISCO DIVISION

13 TAM THANH CAO, CHINH THI NGUYEN,                    Case No. 16-CV-03011 JCS
   XIA KIM HUYNH, and VAN MINH NGUYEN,
14 PHAT VAN LAM and LAN THI NGUYEN,                    ASSIGNED TO THE HONORABLE
   individually and on behalf of all others similarly JOSEPH C. SPERO
15 situated,
                                                      JOINT STIPULATION AND
16                Plaintiffs,                         [PROPOSED] LIMITED PROTECTIVE
                                                      ORDER
17     v.
                                                      Date: April 27, 2017
18 PHO HUYNH HIEP I, INC.; PHO HUYNH                  Time: 9:30 a.m.
   HIEP II, INC.; PHO HUYNH HIEP III, INC.;           Courtroom: G, 15th Floor
19 PHO HUYNH HIEP 4, INC.; PHO HUYNH                  Judge: Hon. Joseph C. Spero
   HIEP V, INC.; PHO HUYNH HIEP 6, INC.;
20 SEN HUYNH; LIEU THI TRAN; PHONG
   HOANG HUYNH; and KEVIN SON HOANG
21 HUYNH

22                Defendants.

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                                                     JOINT STIPULATION AND [PROPOSED] ORDER
                                                                    Case No. 16-cv-03011 JCS
         Case 3:16-cv-03011-JCS Document 69 Filed 05/04/17 Page 2 of 3



 1                                            STIPULATION

 2           For Tam Thanh Cao, Chinh Thi Nguyen, Xia Kim Huynh, Van Minh Nguyen, Phat Van

 3 Lam and Lan Thi Nguyen (the “Plaintiffs”) and individual Defendants Sen Huynh, Lieu Thi

 4 Tran, Phong Hoang Huynh, and Kevin Son Hoang Nuynh (“Individual Defendants”)

 5 (collectively, the “Parties”), the Parties stipulate as follows:

 6           1.     As a prophylactic measure only and not based on the fault of any of these Parties

 7 or others, the Parties agree as follows:

 8                  (a)     None of the Plaintiffs will communicate, directly or indirectly, with the

 9                  Individual Defendants concerning the claims in this lawsuit, unless their

10                  respective counsel are present or they are not represented by counsel; and

11                  (b)     None of the Individual Defendants will communicate, directly or

12                  indirectly, with Plaintiffs concerning the claims in this lawsuit, unless their

13                  respective counsel are present or they are not represented by counsel.

14           IT IS SO STIPULATED.

15   Dated: May 4, 2017                               FUTTERMAN DUPREEE DODD CROLEY
                                                      MAIER LLP
16

17                                                    /s/ Daniel A. Croley                    .
                                                          Daniel A. Croley
18                                                        Attorneys for Defendants
19   Dated: May 4, 2017                               JUSTICE AT WORK LAW GROUP
20
                                                      /s/ Huy Tran                    .
21                                                    Tomas E. Margain
                                                      Huy Tran
22                                                    Betty Duong
                                                      Attorneys for Plaintiffs
23

24                                            ATTESTATION
25           I, Daniel A. Croley, hereby attest that concurrence in the filing of this Joint Stipulation

26 and [Proposed] Limited Protective Order has been obtained from all counsel with conformed

27 signatures above.

28 ///
                                                       1
                                                            JOINT STIPULATION AND [PROPOSED] ORDER
                                                                           Case No. 16-cv-03011 JCS
      Case 3:16-cv-03011-JCS Document 69 Filed 05/04/17 Page 3 of 3



 1                              [PROPOSED] ORDER

 2        PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4   Dated: _________________                                         __________
                                               Honorable Joseph C. Spero
 5                                             United States District Court

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                                              JOINT STIPULATION AND [PROPOSED] ORDER
                                                             Case No. 16-cv-03011 JCS
